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' Or“ mo
Michael W.z Collin$¢. State B,ar# 197829 J)f® §§ §§
Law`Offlces of Collins & Lamo (,,§;; §
A_ttorneys at Law ~ *Fj{~;S/’ §§
8 Whatney #102 w
(949) 581-9300; FAX# (480) 287-8507 § ;;ag;g ~»
§§ s f:z>
Attomey for Plaintiff §§ 23
lN THE UN!TED sTATEs DISTRICT coURT
FOR THE cENTRAL DISTRICT oF cALlFoRNlA
soUTHERN DlvlsloN
) ` F .
Kamy R. Ferrin, )case No.:$AC\/' 2 ® 25 b\ m (HNX~
) ,
. . )
Plam“ff’ ) coMPLA!NT
)
"3' ) DEMAND FoR JURY TR!AL
~ )
FELDSGTT & LEE» A LAW ) 15 Uniced states code § 1692 et seq

CORPORATION; and Does l ~ SO,_

Defendants

`-/\./`/V\/

 

Plaintifi`, KATHY R. FERRIN, based on information and belief and investigation of
connsel, except for those allegations which pertain to the named Plaintiff (which are alleged on

personal knowledge), hereby makes the following allegations:

1. lNTROoUCTION
l. This action for statutory damages, attorney fees and costs is brought by an

individual consumer for Defendant’s violations of the Fair Debt Collection Practices Act, 15

U.S.C.§ 1692, et seq. .(hereinatter “FDCPA”) which prohibits debt collectors from engaging in 1

abusive, deceptive and unfair practices

2. According to 15 U.S.C.§ 1692:

COMPLAINT - 1

 

 

 

 

 

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a. There is abundant evidence'of the use of Abusive, deceptive, and unfair
debt collection practices by many debt collectors, Abusive debt collection practices contribute to
the number of personal bankruptcies, to Marital instability, to the loss ofjobs, and to invasions oli
individual privacy.

b . Existing laws and procedures for redressing these Injuries are inadequate
to protect consumers

c. Means other than misrepresentation or other abusive debt collection
practices are available for the eH'ective collection of debts.

d. Abusive debt collection practices are carried on to a substantial extent in
interstate commerce and through means and instrumentalities of such commerce. Even where
abusive debt collection practices are purely intrastate in character, they nevertheless directly
affect interstate commerce

e. lt is the purpose of this title to eliminate abusive debt collection practices
by debt collectors, to insure that those debt collectors who refrain from using abusive debt
collection practices are not competitiver disadvantaged, and to promote consistent State action

to protect consumers against debt collection abuses.

ll. JURISDICTION »
3. Jurisdiction of this Court arises under 15 U.S.C. § 1692K(d) and 28 U.S.C. §§

2201 AND 2202.
4. This action arises out cf Defendant’s violations of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

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COMPLAINT - 2

 

 

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2 5. Venue in this judicial district is proper pursuantio 28 U.S.C. § 1391(b), in

3` that a substantial part of the events or omis"/1ons giving rise to the claim occurred in this judicial
4 district. Vcnue is also proper in this judicial': istrict pursuant to 15 U.SC. § 1692k(d), in that

5 Defendant transacts business in this judicial istrrct and some cf the facts related to the violations

6 of the FDCPA complained of occurred in this judicial district.

 

7
§ 8 IV. INTRADISTRICT ASSIGNMENT
9 6. This lawsuit should be assigned to the Southem Division of this

10 Court because a substantial part of the events or omissions which gave rise to this lawsuit

1 1 occurred in Orange County.

12 ~V. PARTIES
13 7. Plaintiff, KATHY R. FERRIN (hereinaiter “Plaintift”), is a natural person

14 residing in Alisc Viejo, CA. Plaintiff is a “consumcr” within the meaning of 15 U.S.C. §
15 1692a(3) and is a “disabled person” within the meaning of Cal. Civil Code §1761 (g).

1 6 8. Plaintiff is informed and believes§ and thereon alleges that Defendant,

 

17 FELDSO'I`T & LEE, A LAW CORPORATION (hereinatter “FELDSOTT &. LEE”), is or was atl
18 all relevant times, a California Professional Corporation engaged in the business of collecting

1 9 debts in this state with its principal place of business appearing to be located in Orange County,
20 CA at: 23161 MILL CREEK DR., Suite 300, Laguna Hills, CA 92653. Pursuant to CA Secretary
21 of State records FELDSOTT & LEE may be served as follows:

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COMPLAINT ~ 3

 

 

 

 

 

 

 

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10 9. The principal business of FELDSOTT & LEE is the collection of debts using the
11 mails and telephone, and FELDSOTT & LEE regularly attempts to collect debts alleged to be
12 due another. FELDSOTT & LEE is a “debt collector” within the meaning of 15 U.S.C. §
§ 13 1692A(6).
§
l 4 10. Does 1 - 50 are additional persons or entities responsible in some way for the
15 harms suffered by Plain`tiH` as alleged herein, and will be named by their true names upon
l 6 discovery thereof.
17
1 1 8 VI. FACTUAL ALLEGATIONS
l ,
' ' 19 ll. Between .08/02/2010 and present Plaintiff is alleged to have incurred a financial
20 obligation, namely a Home Owners Association debt (hereinafter “the alleged debt”) owed to the
21 ALTISSE HOMEOWNERS ASSOCIATION (hereafter “ALTlSSE”). The alleged debt was
22 incurred primarily for personal, family or household purposes and is therefore a “debt” as that
23 term is defined by 15 U.S.C. § 1692a(5).
2 4 12. On 08/02/2010 Plaintitf filed bankruptcy chapter 7 and obtained a standard
2 5 discharge on or about 05/09/2011. 'I`hereatter on 07/11/2011, Plaintiff filed for Chapter 13
CO'MPLAINT - 4

 

 

 

 

 

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1 bankruptcy relief case# 8:1 l-bk-19604, which was eventually dismissed on 10/13/2011.
2 v Notwithstanding the “stay” that was in place, “ALTISSE”, by and through its attomeys, b
3 continued its collection efforts against Plaintiff sending a “Notice of lntention to 'lnstitute
4 Foreclosure Proceedings” to Plaintiti` on or about 07/12/2011. This letter claims that “AL'I`ISSE”y
5 has complied with CA civil code §1367.4(0)(2) that requires the decision to foreclose against _
6 Plaintiff be made by the board of directors of the association only. However, from the face of the
7 letter and the “resolution of the Board of Directors Foreclosure of Liens” dated 06/20/2011, the
8 board only approved foreclosure at some future date “as soon as the delinquent balance equals
9 $1,800.00 or more”. A true and accurate copy of the each of these documents, referenced above,
10 is attached hereto, marked Exhibit”l” and Exhibit ”2”, respectively, and by this reference is
1 1 incorporated herein.
12 13. “ALTISSE”, by and through its attorneys, continued its violation of the bankruptcy
13 “stay” filing suit against Plaintili` on 08/17/2011. A true and accurate copy of the complaint,
14 referenced above, is attached hereto, marked Exhibit’i3,” and by this reference is incorporated
15 herein. Furthermore, and in continued violation of the bankruptcy “stay” in place, “ALTISSE”
16 by and through its attorneys proceeded to obtain service on Plaintiff with said complaint on or

17 about 08/25/2011 and proceeded to request default on or about 10/12/2011. A true and accurate

 

18 copy of the each of these documents, referenced above, is attached hereto, marked Exhibit”4”

1 9 and Exhibit ”5”, respectively, and by this reference is incorporated herein. g

20 y 14. On or about 01/23/2012, “ALTISSE” by and through its attorneys proceeded to

21 have judgment entered notwithstanding the stay violations. A true and accurate copy of the

22 judgment entered, referenced above, is attached hereto, marked Exhibit”6,” and by,thi`s reference
23 is incorporated herein.

24 15. “ALTISSE” has a system whereby they routinely check for bankruptcy in

25 situations where the homeowner is in default andin fact charge homeowners a fee for such

COMPLAINT - 5

 

 

 

 

 

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“bankruptcy verification”. However, “ALTISSE” and its attorneys of records willfully or

negligently failed to perform a bankruptcy verification at any stage of the illegal lawsuit filed

against Plaintiff while such collection action was subject to the bankruptcy “stay” between

07/07/2011 and 10/13/2011. A true and accurate copy of letter dated 10/10/2008 sent to Plaintift`
outlining this service and the fees charged is attached hereto, and marked Exhibit”?”, and by this
reference is incorporated herein. l

16. Plaintiff employed a Real Estate Law Firm on or about 01/01/2012, which claimed
to specialize in homeowner refinance and such issues. Plaintiff was under the impression that
they were dealing with this issue with “ALTISSE”. They were not.

17. On or about April 2012, a settlement proposal protected under CA Evid Code
§1152 et al. was sent to “FELDSO'I"I` & LEE”. On May 9, 2012, “FELDSOTT & LEE”
responded Such letter fails to disclose that it is being sent from a debt collector. A true and
accurate copy of the letter (redacted in part consistent with the tenants of CA Evid, Code §1152),
referenced above, is attached hereto, marked Exhibit”8” and by this reference is incorporated
herein.

18. Plaintiif employed the above captioned law firm (Collins & Lamore) in this matter
on or about 07/11//2012. On that date, a dispute letter and settlement proposal protected under
CA Evid Code §1152 et al. was sent to “FELDSOTT & LEE” via fax and email. Furthermore,
‘»‘FELDSOTT & LEE” was advised about the violation of the bankruptcy “stay” violation. A true
and accurate copy of the letter (redacted in part consistent with the tenants of CA Evid. Code
§1]52), referenced above, is attached hereto, marked Exhibit”9” and by this reference is
incorporated herein.

19. On 07/16/12, “FELDSOTT & LEE” responded by letter and fax demanding either
payment of judgment or vacate/dismiss judgment and re-'iile lawsuit. Such letter is a further

effort at collection but is not a validation of debt as requested by Plaintiff on 07/1 1/2012. Such

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letter fails to disclose that it is being sent from debt collector‘ A true and accurate copy of the
letter, referenced above, is attached hereto, marked Exhibit”lO” and by this reference is
incorporated herein.

20. On 07/30/12, counsel for Plaintiff contacted “FELDSOTT & LEE” and advised
them Plaintiff would not pay on the illegally entered judgment as demanded and that it needed to
be vacated and dismissed (which said judgment was later vacated and dismissed on or about
09/21/2012). That same day, “FELDSOTT & LEE” responded by letter and fax continuing that
conversation, but once again threatening continuing collection action but without providing any
validation of debt as requested by Plaintiff on 07/11/2012. Such letter fails to disclose that it is
being sent from debt collector. A true and accurate copy of the letter, referenced above, is
attached hereto, marked Exhibit”l l” and by this reference is incorporated herein.

21. On 10/03/2012, notwithstanding Defendants knowledge that Plaintiff was
represented by counsel, Defendant sent a demand for payment directly to Plaintiff which is a
“communication” in an attempt to collect a debt as that term is defined by 15 U.S.C. §16921(2).
A true and accurate copy of the letter, referenced above, is attached hereto, marked Exhibit”lZ”
and by this reference is incorporated herein.

22. Plaintiff is informed an believes, and thereon alleges, that various documents in
Defendants possession on 10/03/2012 showed that Plaintiff had previously requested, through
her counsel, that she not be contacted regarding Defendants attempts to collect the alleged debt
and that Plaintiff was represented by counsel. Any professional review of PlaintiH’s account or
the documents in Defendant’s possession would have revealed that Plaintiff was represented by
counsel and should not be contacted directly.

23. Plaintiff is informed and believes, and thereon alleges, that Plaintiif did not conduct

a professional review of Plaintitf’s account before signing letter dated 10/03/2012 and sending it

COMPLAINT - 7

 

 

 

 

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directly to the Plaintif`f. vSee Claiiion v. Jacksoo, 988 F. 2d. 1314 (2"d Cir. And Avila v.' Rubin,v
84 F.3d 222, 228-229 (7th Cir. 1996).

24. Plaintiff is informed and believes, and thereon alleges, that the letter sent on
10/03/2012 misrepresented the role and involvement of legal counsel.

25. Plaintifi` is informed and believes, and thereon alleges, that the letter sent on
10/03/2012 misrepresented the true source or nature of the communication thereby making false

statements iri an attempt to collect a debt.

Vll. CLAlMS
FAIR DEBT COLLECTI,ON PRACTICES ACT

26. Plaintiff brings a claim for relief against Defendant under'the Fair Debt Collection
Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

27. Plaint. incorporates all paragraphs of Complaint as though fully set forth herein.

28. Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

29. Defendant, FELDSOTT & LEE, is a “debt collector” as that term is defined by the
FDCPA, 15 U.S.C. § l692a(6).

30. The financial obligation alleged to be owed by Plaintiff is a “debt” as that term is
defined by the'FDCPA, 15 U.S.C. § 1692a(5). y

31 . Defendant has violated the FDCPA, The violations The violations include, but

are not limited to, the following.
a. FELDSOTT & LEE falsely represented the character, amount, or

legal status of the debt in violation of 15 U.S.C. §§ 1692e(2), 1692e(10), and 1692e(15);

b. FELDSOTT & LEE falsely represented the character, amount, or
legal status of the debt by sending a collection notice without'identifying that communication/as
being from a debt collector in violation or is U.s.C. §§ 1692e(11);

COMPLAINT - 8

 

 

 

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c. FELDSOTT & LEE continued to communicate directly with
Plaintiff regarding the collection of the alleged debt alter Defendants knew Plaintiff was
represented by an attorney with respect to the alleged debt, in violation of 15 U.S.C. §
isszc(a)(z);

_ d. FELDSOTT & LEE continued to communicate directly with
Plaintitf regarding the collection of the alleged debt after Defendants received written notice that
Plaintiti` did not want any further contact, in violation of 15 U.S.C. § 1692c(c);

e. FELDSOTT & LEE falsely represented or implied that attorneys
had reviewed Plaintiff’s account when they had not done so,,in violation of 15 U.S.C. § 1692e(3)
and l692e(10);

f. FELDSOTT & LEE falsely represented the role and involvement of '
legal counsel, in violation of 15 U.S.C. § 1692e(3) and 1692e(10); and v
g. FELDSOTT &, LEE misrepresentedthe true source or nature of the

collection communications, in violation of 15 U.S.C. § 1692e, l692e(3), and 1692e(10);

32. Defendant’s acts as described above were done intentionally with the purpose of
coercing Plaintiff to pay the alleged debt.

33. As a result of Defendant’s FDCPA violations, Plaintiff is entitled to an award of
statutory damages, treble damages (according to CA Civil Code §3345), costs and reasonable
attorneys fees, pursuant to 15U.S.C. § l692k.

Vlll. DECLARATIONBY PLAlNTlFF
I declare under the penalty of perjury and in accordance

with the laws of the State of California that the foregoing is

true ana correct.

COMPLAINT - 9

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ig `, REQUEST.FOR.RELiEF

Plaintiff requests that `this»Court:

a) Assume-Jurisdiction in this proceeding;

b) Declare that Defendant violated the Fair Debt Collection Practices Act, 15
U.s.c. §§ 1692e(2), 1692e(io), 1692e(i i), 1692e(15), 1692¢(3)(2), 1`692¢(¢),
1692(e)3, 1692e, and such other statutes that may be proven at trial;

c) Award Plaintiff statutory damages in an amount not exceeding $1,000 for
each occurrence, pursuant to 15 U.S.C. § 1692k(a)(2)(A);

d) Award Plaintiff the costs of this action and reasonable attorneys fees
pursuant to 15U.S.C. § 1692k(a)(3);

e) Award Plaintiff treble damages pursuant to Cal. Civil Code §3345;

f) Award Plaintiff such other and further relief as may be just and proper.

Law Offices oll` s & Lamore

 

Micha'l W. Collins, Esq.
Atto#:ey for Plaintiff

CERTIFICATION PURSUANT TO CIVIL L.R. 3-16

 

Pursuant to Civil L.R. 3~16, the undersigned cert` 1 s at as of this date,
other than the named parties, there is no such interest t r

'Michael K.`:ollins, Esq.
DEMAND FOR JURY T `L

PLEASE TAKE NOTICE‘that Plaintiff, Kathy. R. Ferrin, liZhy de ands a trial by jury of all

 

 

triable issues offset in the above-captioned ‘case.

 

Michael I‘I.&'ollins, Esq.

COMPLAINT ~ 10

 

 

 

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Exhibit "1"

 

 

 

 

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' session, to initiate foreclosure proceedings of the above referenced lien as soon as the delinquent

provided for by Civil Code §§1354, 1366, 1367 and the Declaration of Covenants,

 

 

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Contact Amanda Ybarra - Assessment Department Assistant - aybarra@cahoalaw.eom
Attorneys for Plaintiff ~ ALTISSE HOMEOWNERS ASSOCIATION

ln Re: 71 Via Bacchus, Al_iso Viejo, CA 92656

KATHY lb FERRIN
71 Via Bacehus
Aliso Viejo, CA 92656
NO F lNTENTION 0 INS U'I’E
ORE 0 URE P OCEEDlNGS
Dear Homeowner(s),

YOU WILL PLEASE TAKE NOTICE that payment of your homeowners’ association
maintenance fees is seriously delinquent in the amount of $4,790.33. The debt consists of the
following: $4,027.33 in delinquent assessments and late charges through July 12, 2011, $600.00
in attorney’s fees, 855.00 in costs, 858.00 release of lien fee, and $50.00 in tile set up fees.

PLEASE 'I`_AKE NOTICE that if the balance owed is not paid within said thirty (30)

days, an action will be commenced in the Snperior Court to foreclose the assessment lien.

` Said action will also include a request for all’court costs and reasonable attorneys’ fees as

Coudi`tions, and meedo§. _ _'

The Board of Directoxs of the Association has approved by majority vote in executive

balance equals $1,800.00 or more.

As a reminder, you may have the option of resolving this dispute through the 7 ~

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§ Association’s internal dispute resolution program as set forth in givil _(;gv / de §1363.810, et seq., or
through formal alternative dispute resolution with a neutral third party as set forth in §jy_il_€gdg

§1359»510. et seq. You will not be charged a fee for participating in internal dispute resolution §

Please refer all questions or payment in fall to Amanda Ybarra - Asseesment Department
Assistant. aybarra@eahoalaw.eom

Dated: July 12, 2011
FELDSOTT & LEE

M.§;§ZL@_

Attorney for Association

ay

'I'IiE DEBT COLLEC'I`OR lS AT|`EM|’T|NG TO COLLECT A DEBT AND
ANY lNFCRMATlON OBTAlNED WILL BE USED FOR T|{AT PURPOSE.

 

 

 

 

CaSe 8§'12-’cV-02061-D.OC»AN yDocument 1 Filed 11/28/12,l P`age 14 of 50 Page |D'#:lS"“: ` ' '

inhibit "2"

 

 

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!' ' ° WHBREAS, giglng §1361.4 (c)(Z) provides that, “The decision to initiate foreclosure of a lien t`or delinquent

' assessments that has been validly recorded shall be made only by the Board of Dir`eetors_ of the Association and may not

; - be delegated to an agent of the Association. The Board shall approve the decision by a majority vote ofthe Board
members m an executive session. The Board shall record the vote m the minutes of the next meeting of the Board open to
all members The Board shall maintain the confidentiality of the owner or owners of the separate interest by identifying
the matter in the minutes by the parcel number ofth'e property rather than the name ofthe owner or owners A Board vote
to approve foreclosure of a lien shall take place at least 30 days prior to any public sale.” and

NOW THEREFORB, BE IT RESOLVED, pursuant toC ing Code §l367 .4 (c)(?.), the Board of Dlrectors ("Board")
hereby certifies that the following has oceuned:

Association: Al_ti§e_l;lgm_w_gg§_é§golg_lgn

Owners: {ldentitied by assessment account number)_:_): 032200006881 collectively, “Owners"
Assessor's Parcel Number ofPropei-ty~. 934»50~470

Ir`no (AP‘N), description ofProperty: (“Properly”)

» l. The Association offered the owner end if requested by the owner, participated in dispute resolution

j pursuant to the Association’ s “meet and confer” program

§ l. The Board has personally voted on the subject of this resolution and did not delegate voting to any agent

: of the Homeowners Association

2. A majority ofthe Board has, during an executive session,vored m favor of foreclosing the Lien for
delinquent assessment’s on the property described above, as soon as the amount ofth'e delinquent
assessment secured by the lien (exclusive of any accelerated assessments late charged fees and costs of
collection, attcm¢y’ s fee' s, or interest) equals or exceeds $l, 800. 00 or the assessments secured by the lion
am more than 12 months delinquent.

3. The vote to foreclose the Lien against the property listed above will be reoorded' m the minutes of the next

7 open meeting of the Board.

4. This resolution has been adopted by the Board and signed by a member of the Board vested with the
authority to do so.

 

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CERTIFICATE OF SECRETARY

 

 

z l, the duly appointed and acting secretary of the Alt' e l o do
§ hereby eele under penalty of perjury, that the foregoing resolution was duly moved, seconded and adopted by the
requisite majority of the Board of Directors at a duly noticed meeting held on this, § day of
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§ Sigtiatore ofSecretaty ['_r Dat¢

   

 

 

 

 

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Exhibit "3"

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Laguna Hills, CA 92653 / y‘--__.______
(949) 129~8002 _ team
Atto_mey for Plaintiff
lnurssrz HOMEOWNERS AssocrA'rroN
SUPERIOR COURT OF CALIFORNIA
COUNTY OF ORANGE, HARB()R JUST|CE CENTER, LAGUNA HILISSd?./\zcbl.;'l"'Y
ON CASENO, 005 00978
ALTISSE HOMEOWNERS ASSOCIA'I`I , a
' coMPLAINT To FORECLOSE ASSESSMENT
nonpw£t muwal benefit corporation LlEN, ACCOUNTS STATED AND OPEN ,
’ ' BOOK ACCOUN'I (LIMITED JUR|SDICT!ON
Plaintiff, PURSUANT TO CCP l§86 (a)(6))
vo_. ll _ DEMAND uNDBR $10,000.00
KATHY R. FERRIN, and DOES l through 100, pate A¢tion Filed;
inclusive, / Trial Date: None Set
Defendants. 7
Plaintiff alleges:
FlRST CAUSE OF ACTION
(Fo`r Aecount Stated)

1. A1 on moreno nmos, moines was o oonpron¢ morool ‘booont corporation
organized and existing under the laws of the State of California and was a homeowners association
established in a project consisting of common interest development asidefined by the Qm`§;§t`gligg
ggmmon Intgg.g Devg' logment Act. v l

2. The true names and capacities, whether individual, corporate, associate or otherwise
of Defendants named herein as DOES'I through 100, inclusive, are unknown to plaintiff, who

 

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COMPLAINT

 

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PROPERTY”).

was stated in writing by and between Plaintifl` and Defendants and on such statement a balance of

therefore sues said Defendants by such fictitious names Plaintiff will amend this Complaint to
show the true names and capacities when same have been ascertained

3. At all times herein mentioned and material hereto, all of the Defendants were the
agents, servants and employees of their co»defendants, and were acting within the course and scope
of their authority as such agents, servants and employees and with the permission and consent of
said named Defendants.

4. The real property, which is the subject of this lawsuit, is situated in the County in
which the above-entitled Court is located, in the Statc of Califomia, and is more particularly
described in Exhibit “A” attached hereto and by this reference incorporated herein (“SUBJECT

5. When Defendants acquired and accepted “SUBJEC'I` PROPERTY”, it was subject to

 

all of the terms and provisions of that certain Declaration of Covenants, Conditions and Restrictions
which was recorded on February 15, 1989 as instrument No. 89»081241 (“DECLARATION” ,
and Defendants entered into the purchase and acquisition of “SUBJECT PROPER'I`Y” with both
actual and constructive knowledge of all of the provisions of the DECLARATION.

6. At all material times and in accordance with the terms and provisions of the
DECLARATION, Plaintit}` was obligated to maintain, preserve and repair the commonly owned
lots, parcels or areas and/or the individually owned lots, parcels and/or portions thereof within the
projectl

7. The DECLARATION provides, among other things, for maintenance assessments to
be paid by Defendants to Plaintif’f in the amounts set forth in the DECLARATION or established

pursuant thereto, as well as interest, costs, late charges and reasonable attemey’s fees.

8. Within four (4) years past, in the County of Orange, State of Califomia, an account

$4,369.06 was found due to Plaintift` from Defendants.
9. Although demanded by Plaintiff from Defendants, neither all nor any part of the

balance has been paid. l
10. 'I`here is now due and owing and unpaid horn Defendants to Plaintiff the sum se

 

. 2 -
COMPLAINT

 

 

 

 

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forth in paragraph 8 above, together with interest thereon at the rate provided for by Civil 'Code
Scction 1366.

ll. Plaintiff has not consented to the breach of any of the terms or provisions of the
"DECLARATION“ and the same have not been canceled or withdrawn, and each and every one
thereof is, and at all material times was, in force and effect.

12. This action is not subject to the provisions of Sections 1812.10 or 2984.4 of the
California Civi! we

13. yPlaintit’f has provided all statutory notices to Defendants as required by the Davis-
Stirling Common interest Qevelgpment Act,

§_LL).I!QLMFS_E_Q_I‘_`AQT_IQH
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14. Plaintiff refers to Paragraphs l through 13 of its First Cause of Action and
incorporates the same herein by reference as_ if set forth at length.

lS. Within four (4) years past in the jurisdiction set forth in paragraph 8 above,
Defendants became indebted to Plaintiff on an open book account for money due in the sum se

forth in paragraph 9 above, for services rendered by Plaintiff in accordance with the

4 "DECLARATION".

16, Defendants have failed to pay for the maintenance assessments duly levied and
presently owes the amount set forth in paragraph 8 above, all of which is thirty (30) days past due as
of August 16, 2011.

17. Neither the whole nor any part of the above sum has been paid although a demand
has been made. The principal amount owed for said indebtedness is increases by $299.00, per

month and such increase in the amount of monthly assessments as may oecnr, plus interest thereon

the first day of each month, is due and owing alter the date mentioned above.

TM' `CAUSE'OF ACTION
sr sine t.Lien'Lir'nited Ju'risdie ‘ n Purstlant To CCP 86 a

   

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COMPLAINT~

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18. Plaintiff refers to Paragraphs 14 through 17 of its Second Cause of Action and
incorporates the same herein by reference as if set forth at length

l9. The DECLARATION provides that all amounts set forth in the DECLARAT!ON are
and shall be a lien upon SUBJECT PROPERTY and that such lien may be enforced by sale alter
failure of the owner to pay said assessment in accordance with the terms of the DECLARATION
and avi - tirlin Common Int re velo ment Act (Civil die §1350), and such sale may be

conducted in any manner permitted by law.

20. Plaintiff has not consented to the breach of any of the terms and provisions of the
DECLARATION and the same`have not been canceled or withdrawn and each and every one
thereof is, and at all material times was, in full force and effect ' l

21. Defendants have failed to pay the maintenance assessments and continue to fail and
refuse to do so although a demand has been made.

22. Plaintilf has duly recorded a Notice of Delinquent Assessment on or about August
01, 2009 in the OHicial Records of the County Recorder of said County.

v WHEREFORE, Plaintiff prays for judgment against the Defendants, and each of them, as

follows:

_A__§ TO THE §§ B§! AND ~SECOND QAL]§ES OF ACTIOE

(l) For the sum of $4,369.06, plus additional maintenance assessments, late charges and

interest as provided for in the ngi§~§tirling Commog Interest Development get and as they accrue

through the time of judgment;
AS TO THE THI@’ QAQS§ 0F ACTIOE

(2) That it be decreed that the statutory assessment lien herein refen'ed to be foreclosed
and that the usual decree may be made for the sale of the SUB.TECT PROPERTY by the Marshal

l and/or Sheriif of the County in which this Court is iocated, in the State of `Califomia, according to

law and the practice of this Court; that the proceeds of said sale be applied to the payment of the
Sheriff and/or Marshal’s expenses of said sale and the next to the amount due Plaintiff, and that the

balance remaining, if any, be paid over to the Defendants; Defendants, and all persons claiming

under them, be foreclosed of all equity or redemption or interest in said SUBJBCT PROPERTY or '

_ 4 -
COMPLAINT

 

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any part thereof:

(3) Plaintiff shall recover from Defendants personally, any deficiency between the sale
price and the total amount due Plaintiff from Defendants, together with the expenses of sale should
such a deficiency exist;

(4) Plaintiff or any other party to this suit may become a purchaser at said sale and that
the Marshal and/or Sherift` execute a Deed to said purchaser and that said purchaser be let into

possession of the premises on production of the Sheriff and/or Marshal‘s Deed therefor;

AS TO ALL CAQSES QE ACT!Q§
(5) For cost of suit incurred herein;

(6) For Plaintiffs attorneys fees according to proof.

(7) For such other relief as the Court may deem just and proper.

DATED: August 16, 2011

FELDSOTT & LEE

 

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EX lBIT “A” , `

Unit 30, Lot l of 'I`ract No. 12509, APN 934-50-470, Alternate APN 623-202»26, inclusive of

miscellaneous maps, in the office of the county recorder, County of Orange, State Of California;
and is more commonly known as:

71 Via Bacchus, Aliso Viejo, CA 92656

 

 

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Exhlblt "4"

 

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' . 4 . ._ cwa

’ POS-°l°

ATTGRNRY 0? PAR‘I‘Y HI'I’HOLN' ATTORNBY (Name, Sta\:e Bar number, and address):
JACQUEI¢INE PAGANO 45128
FELDSOTT & LEE - ASSBSSMENT ***
23161 MILL CREEK DR., SUITE 300
LAGUNA HILLS, CA 92653

mexican (949) 729-8002
avenues ram PLAINTIFF

QCSC HARBOR /LAGUNA HILLS HARBOR JUSTICB CBNTER

smes'erD)tssst per rule 2.150 (a) (8):

 

 

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our mo ms const abch
emmett nms= l l
moment ALTISSE HOMEOWNERS ASSOCIATION case mutual
personam FBRRIN 30-201100500978
Cl.t.. Ref. or Pile No.¢
PROOF Ol' B!RVICI 0! BUNMONS C.1926.3AS

(Separate proof o! service is required for each party served-l
1. he the time of service 1 was at least 18 years of age md not a party co chin accion.

2. x served copies oft
SUMMONS,~ COMPLAINT; ADR PACKAGE; CIVIL CASE COVER SHBET

3. n. [XX] Parcy served
KATHY R. FERRIN

b. i____] Person (obher than the party in item Su) served on.behal.i.' of an entity or as en authorized agent land not
a person under item 5b on whom substituted service was made) (apecity name end relationship to.che party
named in item salt

4. weren where eve party was served» 71 VIA BACCHUS
ALISO VIEJO, CA 92656

5. l served the party (check proper box)
b. IXX] by subseieu:¢a service. en macon oo/zs/n ar inman ms am 1 len she documents listed in item 2
with in the presence oh
ALEX PADILLA, CO-OCCUPANT

(2) [XX] (home) o competent member of the household (at: least 18 years of oge) at the dwelling house or
usual place of abode of cna parey. 1 informed mm or her of the general nature of the paperc.

(4) [XX 1 thereafter mailed (by tiret-claos. postage prepaid) copies of the documents to she person to ,be
served at the place where the copies were left (Code Civ. P:roc. , 415.20) . l mailed the documents

 

on touch 08/26/11 from (e:tcyt. CHINO or t__ 1 a declaration er mailing in attached
(5) [XX 1 attach a declaration of diligence stating actions taken first to attempt personal cervical v
. Page 1 of 2
computer-generated form PROOF OF SBRVICE OF S-UMM`O code o!_ Civ`i1 l’:ot:a(_lure-y 411 itc

 

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905-010 (Re'v. January 1, 2007) Go= 12 amarquez

 

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‘», / "' / .

maurice ALT:ssE HOMEo'wNERs Assocxh'rroN case mm
mcmann _ stream 30-201100500978

' ¢- [__] by mail and acknowledgment of receipt of sarvice, ! mailed the documents listed
in item 2 to the party, to the address shown in ltem 4, by first-class mail,
postage prepaid.

(1) on (date): (2) from (city)=

(3) [____] with two copies of the Notice and Acknowledgment of Rece:l.pt (form 982 (a) (4)
and a postage paid return envelope addressed to me. (Attach completed
Notice and Acknowledg¢ment of neceipt (torn 982(a) (4).) (code of civ.
Froe. , 415.30) .)

(1) [_____] to an address outside California with return receipt requested.
(cods civ. Proc., 415.40)
d. [___] by other means specify means of service and authorizing code section) ¢

6. The "Notice to the Person Berved" (on the summons) was completed as follovs;
a. [XX] as an individual detendant.
b. [___] as the person sued under the fictitious name of (specify):

c. I__] as occupant/tanant.
d. [__] on behalf on

under the following code of civil procedure section:
CcP 416.10 `(corporation)

416.20 (dcfunct corporaticn)

416.30 (joint stock or company association)

1 ils.so (mino_r)
]

]

] 416_.40 (association or partnership)

]

l

416.70 (ward or conservatee)
416.90 (suthorixed person)
ais.is (occupanc/tenant)
other:

v-al-v¢-sr-'ar-\

416.50 (public entity)
CCP 415.95 (business organization, form unknown)

||l||I

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7. vernon who served papers
a. Name= A. CHAYRA
s. adareaa¢ 7124 Owensmouth Ave., #106, Canoga Park CA 91303
c. Telephone number: (213) 928»7247
d. The fee for service wasn $ 59. 95 (recovorable under cCPlO33.5(a) (4) (B))
e. 1 am
(1) [____] not a registered california process sarver.
(2) [______] exempt from registration \inder business and ?rofeaaions code
section 22350(!)) - `
(3) [XX] registered california process aetver\
(i) [_____] Ovmer [~___~) Employee [XX] Independent contractor. l
(ii)negistration No.x 3587 l
un)counr,y= LOS ANGELES

B. [XX] 1 declare under penalty ot perjury under the laws of the State of california that l §
1 the foregoing is true and correct. `
or
9. [___] 1 am a California sheriff or marshal and l certify that the foregoing is true and correct.

baton 08/29/11

 

 

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. ; page 2 of 2,
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1308-010

ATTGRNB!@°P" PARTY WJTHOUT AT‘N)RNH¥ (Name, Btate Bsr number. end addresn): 1081 C¢VM' Wl WLY
JACQUELINE PAGANO 45128
FELDSOTT & LEE - ASSESSMENT ***
23161 MILL CREEK DR., SUI'I'E 300
LAGUNA HILLS, CA 92,653
relevaon (949) "7_29~8002
sweeney von (Nmey. PLAINTIFF
OCSC HARBOR /LAGUNA HILLS
` sum Annnzss\ per rule 982.9 (a) (8):
mlmua uman the address of the court is not required

mr mo zu> conn

annum munz CCSC HARBOR /LAGUNA HILLS HARBOR JUSTICE CENTER 1

 

maineer ALTISSE HOMEOWNBRS ASSOCIATION ones mem
nefendmt FERRIN 30-2021100500978
nef. or 2110 No.=
Declarst:l.on of Diligsnoe 12-11861470

! received the within process on 08/18/11 and that after due¢and diligent effort, 1 have been unable to effect
personal service on the within named parcy. oates and times of att¢rm;s with reported details are listed below
Costs for diligence pertaining to substituted service is recoverable under C.C.P. 1033.8(¢) (0) (B) .

servee: KATHY R . FERRIN

Home sddress: 71 VIA BACCHUS
ALISO VIEJO, CA 92656

Busineoo address =

08/20/11 12111pm No answer at residence on current attempt. NO ACTIVITY HEARD OR
OBSERVED WITHIN THE PREMISES.

08/22/11 8:17am No answer at residence on current attempt. SPOKE WITH NEIGHBOR AND
VERIFIED SUBJECT'S ADDRESS TO BB GOO!J. l

08/24/11 5=19pm No answer at residence on current attempt. NO NOISE HEARD wITHIN THB
PRBMISES

08/25/11 9:29am SUBSTITUTED SERVICE'

1 declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

   
 
 

verson serving (name, address, and telephone No.)x roe for services $ 59-95

20003 (zecoverabxe per c.c.P. 1033.5(¢>(4) §s))

A. CHAYRA [___] Not a registered mlifornie process server.
'7124.v Owenemouth Ave. , #106, [__] s_xempc iron regsscr§uon under nw 223,50(:>,),.
Canoga Park CA 91303 [XX] negio\-.eua, 1 forma process server.

(1) Emplo'y/ee o independent eontracto .

(213) 928-7247 v k
(2) Reg$streti n Ne.; 3587

 

 

 

¢a) county S TGT.,ES
mm 08/29/11 ~ "' .'
csign»eure), ¥~/ "
rem mopced by rule 992 Declaratio_n of diligence /
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Exhibit "5"

 

 

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_JACQUELINE PAGANO (Ba'r#zeaz"ss) ’

FELDSQTT&-LEE y ' v

23161 MlLL cRBEK DmvE, sUITE 300

LAGUNA HILLS cA»92653 _. F; -
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PLAmnFF/PemioNER: ALTISSE HOMEOWNERS ASSOCIATlON, etc.
oEFENoANImEe¢oNoENT: KATHY R, FERRIN, et al.

mNcHNAMe: 1 AQ! ma H!,LL ACILI-TY ‘

°L`T 13 2011

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(Appli¢\\l°n) ~
Qcoun Juagm¢m

' RE`QUEST FOR amy of oman l:] comes .tudgm¢m

CASE NUMBER:

30-2011-00500978

 

 

 

1. T0 THE CLERK: On the complaint or cross-complaint filed
a. one '(d&f¢)~' 08/18/2011

b. by (name): AL'I'ISSE HOMEOWNERS ASSOCIATION, a nonprofit mutual benefit corporation

c. I_`x'] Enter defamlofdmm(namss):KAmY R, FERRlN

d. [:] l requests court judgment under Code ot Clvil Proeedure sections 585(!)). 585(¢), 989, etc., against defendant (names):

(Testlmony required Apply to the clerk for a hsa ring date, unless the court will enters judgment on an aMdavl! under Code

clv. Pme., § 585(¢1).)
e. l:l Enter dance judgment

(1) g for restitution of the premises only and issue a writ ol execution on the judgment Code of Civll Procodure section

1174(¢) does notepply. (Code Civ. Proo., § 1169.)

l:] include in the judgment all tenants, subtenants, named dalmants. and other occupants ottha premised The
prejudgment Claim of Right to Possesslon was sawed ln compliance with Code of Civll Proced,ure section

 

415.46.
(2) [::] under Code of Clvil Procedure section 585(9). (Complata the declaration under Code Clv. Proc., § 585.6 on the
mvomo (item' 5).)
(a) [:l for default putnam emma on (dala).~ 7 v
2. 4anme tn mm . Amszunl Mm §a_ime
e. D'emend of complaint ............ $ $ $
b. Statomont of damages *
(1) special .................... s s $
(2) oenerai .................... s s $ l
c. interest ....................... $ 3 s
d. Costs (soe mverse) .............. 5 368.95 $ § 368-95
e. Attomey fees ................... $ $
f. t‘onv'u.sv ...................... s 368.95 s s 368~95
g. Dally damages were demanded in complaint at the rate ol: $ per day beginning (dato):

(" Personal injury or wrongful death actions; Code Civ. Pmc., § 425. 11.)

3. l::l (Chsck if llled ln an unlawful detainer case) Legsl document essletant or unlawful detainer assistant information is on

the reverse (oomplate item 4).

 

 

(2) Defautt NOT entered as requested (state reason):

Date: October 11 Z(gl pAGANO b h _ ` v 7
My (s\ol\nun)zos m U EvFonPuuN vt=)

m miami entered as requested on (daze): w 1 2 mt '

 

 

 

 

 

 

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us`E om.v Cle¢,A.L__L\_N CARLSON T.
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(Applicatlon to Enter belautt)

 

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_ oEFE~DANnRESPo~neNn KATHY R. FERRIN, et al. 30-2011~00500978

 

 

 

 

4 Legal document assistant or unlawful detainer assistant (Bus. & Prof. Code, § 6400 et seg.) A legal document assistant
or unlawful detainer assistant [:] did m did not for compensation give advice or assistance with this form.
(lf declarant has received any help or advice for pay from a legal document assistant cr unlawful detainer assistant stete):
a. Asslstant’s name: c. Telephone no.:
b. Street address, city, and zip code: d, county 01 registration;
e. Registration no.:
f. Explres on (date):

5. [X:I Declaration under Code of Clvll Procedure Section 585.5 (required for entry of default under Code Civ. Proc., § 565(a)).
, Thls'ectlon

a. L____l is 133 is not on a contract or installment sale for goods or services subject to Civ. Code. § 1801 et seq. (Unruh Act).

b. l:l is lI| is not on a conditional sales contract subject to civ. codel § zant et seq. (Rees-Leveiing Motor venice sales
and Flnance Act). _

c. l:] is L_i] is not on an obligation ror goods services loans or extensions mcreait subject to code civ. ch., § 395(\>).

6. Declaration of melting (Code Clv. Froc., § 587). A copy of this Reguest for Entry of Default was
a. 1:1 not mailed to the following defendants, whose addresses are unknown to plaintiff or plaintiffs attomey (nemes):

b. 133 melted first-class postage prepaid. in a sealed envelope addressed to each defendants attorney of record or, if none. to

each defendants lest known address as follows:
(1) Mailed on (date): (2) Tc (specr'fy names and addresses shown on the envelopes):

October 11, 2011 KATHY R. FERRIN, 71 Via Bacchus, Aliso Viejo, CA 92656

l declare under penalty of perjury under the laws cf the State of Califomla that the foregoing items 4, 5. and 6 are and conect.
oate October ll, 2011

Amanda Ybarra ,

mrs on harm must ' ieieNAruRE getchwm

7. lhl`ernorandum of costs (required if money judgment reguested). Costs and disbursements are owe (Code Civ. Proc..' j
§ 1033.5): §

1::| Costs and disbursements ere waived.

' l am the attomey, agent.v or party who claims these costs To the best of my knowledge and belief this memorandum of costs is
' correct and these costs were necessarily incurred in this case. , 7
l declare under penalty of perjury/under the laws of the State of Califomla that the foregoing ls true and correct

Dete: Octobcr 11, 2011
JACQUELINE PAGAN 0

{'I'VFE OR PR|N¥' NAME)

a. Clerk'e filing fees .................... $ 225'00
b. Process server‘s fees ................. $ 59_95
° °"\Srtspw"'>'l D.EED. EEI.S. ........... $ $65.00
d. .Lis.rei>ir;)su.$ .................... s $19-00
e. TOTAL ............................. $ 368.95
f

9 ,

 

 

8 133 Declaretlon of nonmllitary status (regulred for a judgment). No defendant named in ileMc of the application is in the
military service so as to be entitled to the benefts of the Servicemembers Civil Reilef Act (50 U. S, C. App § 501 et seq )
l declare under penalty of perjury under the laws of the State of Califorrila that the foregoing is true and correct
Date:\ October 11, 2011 l ,

JACQUELINE PAGANO
l (TYPE QR PR|N\'NAME) ` 7 7 v l y
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CPN”BTMW*FWWPQQG 30 01 50 b Page |D #:34"".'»","." "

Exhibit »"6"

 

 

CaSe 8:12-cV-02061-DOO\-AN Document';l' Fl|ed 11/28/12' P\age 31 01 50 "Pé“g“é"`|D #:35""
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' JACQUBLH\IE PAGAN 0 (SBN '# 26628,3)
FELDSO ['I`& LEE
423161 Mil Cwek Drivc, S\iit¢' 300

Hills, CA 92653
,(949) 729-8002

Attomey, for"Plainfii’f'
.ALTISS'E Ho'rviEf<')€vaERs ASSDCIAUON

 

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ALTISSE HomowNERs.AssoCIA'I‘ION, a cASE,No'. 30-201,1-0'0500978.
‘12 nonprofit mutual benefit wmomrion, JuDGM;ENT oF FoRBcLosURE oF REAL
1 PROPERTY AssEssmNT LIEN @EFAULT_,

` 13 Plaindtf, ' BY come JUDGMENT F<)R M'oNEY CcP
. JsEcTroN sss)

hammon mut Augus¢_ 18,2011
'I‘rial ,Date: NoneSet

H-
ind

14 vs. .

15 KA'I_'HY R, FERRIN,,and DOBS 1 thropgh 100,

15 ihclusive,

17 Defendanis.

18 ,

19 rr-APPEARmiG THAT UEDEFBNDAN&,KA'IHYR,FBRRN, wing regan-fly w

20 served with process, and having/failed to:appear and answer 1he Complaint filed herein `b§' Plalvfiff»

21 ALTIS sE HomowNERs AssoczATroN, 2a nonpm§c»mmual bendix wrpmtion

22 `("‘ASSOCIATION")¢ and default of-said defendant havmg been duly entered,» and ¢vid¢nce-having v

23 been submitted itoj this Court: 4 - v .

24 . ms ORDBRED,AD:UDGEDANDHECREEDMOMWS¢
25 ' (1) Therq is now'd'ue and.bwihg to plainti&`,AL’HSS_E HOMEOWNBRS

- 26 ASSOCIA'ITON, vanox,;prolfit-muwal behesrcozporation,$ftom~the defendant;KATHY §§ YERRII\I, as

27 S¢¢ur¢d by 'a lien as set forth in lthe Declaration of Covenah"ts', Cbndifibt;s;,& R¢sgi_gti°ns; rewa

28 z v `

-29 , ‘ ’ D¢',P|Icate .`

 

 

 

 

:' lease 8:12-cv-02061-DQC:KN*DBMWPAUWSO`PHUW#3…
z . i ` "
z ` ;, ' ~ ' ex §§

on jF.ebmar'y l.$, 1989'»'85 I'ri§trumont'No. ‘~89-018"1 241 , mths'()lfloial Records ofOiango ‘County,,by
Plaintiff’;s predecessor in interest sonstimting a !isn.on the'real proper`fy'har¢:=.inafwr doscribed.-*h¢
following sums: principal'through January 16, 2012 ~ '$6;122.56; court costs ~ '$_'368,95; attorneys
fees - SZ»,09L50: .for aimed judgment of`$8;5'83;01 plus plaintiff‘s:a¢t\l.£l costs'of,foreclos\né sale. '

(2) The Marshal or Shéxiff of orange Coumy shall sell thermal property hereinafter
described or as much 'of'it as may bo'necessary, in the manner prescribed hy' law.

(3) Any party to tl\is.$§¢fion maybe a purchaser at the sale. .

(4) From the proceeds of'sale,'the.Mdréhal or Shorifl` of orange County shall pay to the
plaintiff, after deducting the expenses of the sdle, the sum herein adjudged¢du¢, Wifh interest n

ooe~.xo»m.s~.wto_»~@

10 thereon at the rate of 10% per annum_from the date'of this judgment

»1 1 (5) !f any surplus remains after making these payments, the surplus shall be paid to

12 defendant,KA'IHYR. FERR]I\I.

13 l (6) 'Plaintlff shall recover from said defendantany deficiency between the sale price and
14 the total amount duepla`intilf. n
15 (7) Aiter the time allowed by law for redemption,`has expired, the M,`ar,Shalor Sheriff

15 shall execute a deed to the purchaser who shall b¢_let into possession, and i_n aid thereof, may have
17 the appropriatel wit of assistance directed to*tho` Marshal:.or~ `Sh'exif£of"()range Counfy, California,
173 (8) From and after the delivery of the deed ’oy the Ma"rshal or Sherlff"of Crange County,
19 defendant -KATHY lt FERRIN,' and all persons having lliens:sqbsequent to the liensued,:upon

20 herein and to this`jud'gment, dod their personal reprosentativcs;and all persons having alien of claim
g; v tmder such subsequent jddgm¢nt, and,their»he’irs and personal`rey,resentatives, and all persons

22 claiming under tham, and all parsons claiming to'have-acqtiiiod any dstate or.interést in the property
23 subsequent to the recording of tha Not`ice~of`~l»is Pcndens herein with the “County Re'corde‘r, are

' 24 ' forever barred and foreclosed from all equity :of:'red,empt‘ion in~and claim to the:piopertj and every
25 part thereof '

26 (9) _As an alternative to_f‘ox‘eolosuz‘e' ofthe'roal"p'ropor,ty§ plaintiff is awardad._a judgment
27 for money.should plainst securify:intorest-in said pmpeityznot be enforcoabloagalnst the

23 defendant

 

 

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' 92656

DATED.= *MN. 2 3 2012 -

 

 

(10) The Pwpertywhich is the subjeci!efihis iudgjinent is sitwed in,Otangé Qounty,-
California§ 'deseribeda's follows': Uiiit 301,;1.01 l of Traci No.- 112509, APN*SB#~»’§OA'ZC; Altefnate

4“ Gxange, State. of California; and'is'rnore'ooznmonly known as: 71 Via'Baoolius Al'i'sjo Viejo', -CA

   
 
 

JUDGE 8 CRAM\N
'JUDGE or TH;B sUPER`IoR ,CoUR‘r

 

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Exhibic "7"

 

 

 

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'Sc'hedule A v
Statement Of .Account S11mma.l'y ‘
Date of Noti'c'e: ;Octdl)'er 10, 2008 ' ` ` ll § i~

 

 

Alti$se l*l<)meownereAssociation (the "Assoc,ia`tion")
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29 ;B 'r_echn,ology» Drlva; Suli_;e 100
Irvine, California§QZél.B

  
  
   
  

AI$ Ni>i: 2008-5614

 

AMOUNT DUE NOW

 

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Additional Asse`ssments i - '
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’Late Fees_ _
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review ofth flle,'the‘ assodado;i’s governing doémnems_a'n'drr._¢rg;n g to all homeowner, management company or board v - . z .
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are adminlslrative fees for handling of thaw documents l
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Whi¢li' y ` ' dxe'q'illre that’all “collédion efforts cease t v v ` m “_, '_

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§ (usuui;lly at 1296 per ammn) hut.`in addition is entitled to collect all atiom_eys fees and costsof collection some wl\id\ are
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Exhlblt "8"

 

 

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Feldsott v'¢S'c' free ;"

A LAW 'c'onronArloN
23161 Mm. Cneex Dmve. $uns 300
. LA<zuNA Hms, CA 92653
1949) 729~8002
£9‘49) 729-ama m
WW.CAHOALAW.COM _
May 09, 2012
KATHY R. FERR!N
71 Vla Bacchus
Aliso Viejo, CA 92656

Re: ALTISSE HOMEOWNERS ASSOCIAT!ON vs. FERRIN
Dear Homeowner(s):

The Board of Dlrectors has made a-counter offer , iv y y {
. A response must be received in our office within ten

 

days from the date of this letter,
. Very 'l`ruly Yours,

FELDSOTT & LEE

ay

 

 

 

 

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exhibit "9"

 

 

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ej'&"' ‘;;Asa¢¢:iat '“""n_wvs. Kathleen nose Ferrin,
cass#: 30-2¢1'1-005009'7B~CL-on»lmll,

 

 

 

  

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mine msms
949-581~9'300; Fax# 480-287~'8507

 

 

cce ' Katmeen Ferrih

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Exhibit "10"'

 

 

 

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Feldsotc&Lee
A LAW coRP'o`R,MVION` _
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v , LAcuNA H1us,'CA 92653 l . 1 1
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www.cAHcAtAw.coM . l (858)'75513'741 ,
any 16, 2012
SE§T VIA U,S, MAlL § FACSIMILE flf():
(480) 287-8507
Miéiiga w. '6§»11111§ "
Law Oftices of Collins & Lamore
8 Whatney #102
Irvine, CA 92618
Re= Aln_sag_raem_a;_éssr;emnul§mh.enka§s£s;nn

Dear Mr. Collins:

' 'This office 1s in receipt of your correspondence dated July 1 1, 2012 1n regard to the above-referenced

matter We have research your allegations set forth therein and have noted the following

` 1This office first became aware of a Chapter 7 Bankruptcy Petition filed by your client on August 2, y

2010 which was dlscharged on Jannary 12 201 l. The lien was recorded on May l 8, 201 l which did

, not include any of the pre-petition debt nor did the Complaint. Neither this office nor our client were j

ever notified of the Chapter 13 bankruptcy filed on _.luly 7, 201 l and dismissed on October 13, 201 1.
lWe have researched the Bankruptcy Court’s website and see that your client did' m fact file a Chapter

' 13 Bankruptcy Petition on July 7, 2011 Per your client’s Proofof Service, notice of the bankruptcy

was sent t_o_ “_Aetion Property A_ltisse HO Ass, 29 B Technology Dr , Suitc 100. Irvine, CA 92618",.

' 1 on or about Ju]y 7,` 201 1 H_owever, Actidn Property Management moved its oHices t6 “2603Ma1n '

Street, Suit_e 500, Irvine, CA 92614- 4261" and changed its address effective ,lggi_e_2_9_,__2,992 - - __2_
. The forwarding order expired

 

71 °Deeemher 2010 - - 7 months before your client filed the Chapt'er 13 Bankruptcy Petition.

Even if your client claims to have never received a notice of change of address (which was sent to

1 j all homeowners), surely she would have received the returned mail reflecting the change of address '
{, ln addition, Action Propejrty Managernent’s current address was indicated on the Notiee ofIntent to

" Lien sent on April 8, 201 1, the lien recorded on May 18 201 1 and theNotice of Recordation of Lien,j

7 1 sent on May 19 201 1.It`1s obvi6us that your client never change the address 111 the Court’s records

1 ' nor did she add this office to the mailing list. Accordingly, there was no notice of the Chapter 137 ~

filing

 

 

 

 

  

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f Mi¢ha¢i w.' comm
’ `L'a`w' Ofti_ces of Collins &~Lamore

lilly 16, 2012 '
Pa'g‘e'~Z-

At this point, your client has the following options:
1. Pay the Judgment; or

2. We will ask the Court to vacate the Judgment and dismiss the Complaint without
prejudice We will of course re~t`lle the Complaint for judicial foreclosure and

./ common counts and seek all assessments due and owing including the pre~Chapter _

7 petition amounts, where appropriate, which were not included m the first action.

l Please advise this office as to how your client wishes to proceed. Should you have further questions

or require any additional information, please do not hesitate to contact me.
Very truly yours,

FELDSOTT & LEE

` By: ' w __
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mac _ ,

 

 

 

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inhibit "11"

 

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Feldsott &zLe_'e =
A LAW coRPoaAr`loN '

23161 Mlu CREEK Dmve, Suma 300
LAGuNA ch.s, CA 92653

1949) 729-8002 12107 men epr on~c, sum 200
1949) 729-8012 m » sm o»:m, cA*92130
www.cAHoALAw.coM (858) 755~3741

July 30, 2012

E l U.S. 'MAIL & F CSI 0:
(480) 287-8507
Michael w. counts
Law Of‘lices of Collins & Lamore

8 Whatney #102
Irvine, CA 92618

Re: ltisse Hom ners Asso i tion v. thl en o e Fe
Dear Mr. Collins:
This shall confirm our telephone conversation today wherein we agreed to the following:

l . This'oft`lce will vacate the Judgment in Case No. 30-20l 1-00500978 and dismiss the
Complaint without prejudice;

2. This office will tile a new Complaint seeking all assessments due and owing;

3. You will accept service by facsimile of the new Complaint on behalf of your client,
Kathleen Rose Ferrin.

Sho_uld anything set forth herein differ from your understanding of our agreement, please contact me

 

immediately
i
Very truly yours,
FELDSOTT & LEE
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Exhibit "12"

 

 

 

  

   
   

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UNrTED S' acresv DtSTRIcT COURT 1
for the
Southem District of Calit`omia

Kathy R. Eerrin

 

Plaimw'
Civil Action No_ SACV12-02061 DOC (ANx)

V

FELDSOTT & LEE. A LAW coRPoRATsoN:
and Does 1 - 50,

Defendanl

 

`./`JVVV`./"/

SUMMONS IN A ClVlL ACTlON

To: (Defendanr's name and address) FELDSOTT & LEE, A LAW CORPORAT|ON
23161 M|LL CREEK DR.. Sulte 300
Laguna Hi||s, CA 92653

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,

whose name and address are: Law 0ffices of Collins 81 Lamore
8 Whatney #102
lrvlna, CA 92618

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint )
You also must tile your answer or motion with the court.

CLERK OF COURT

ll!.l\il 2 8 2012 ' ao\_\_s RoYC
Date: ' ',

 

 

Signamre ofC'/erk `or De

 

 

 

 

Case 8:12-cV-02061-DOC-AN Document 1 Filed 11/28/12 Page 48 of 50 Page |D #:52

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIF()RNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge David O. Carter and the assigned
discovery Magistrate Judge is Arthur Nakazato.

The case number on all documents filed with the Court should read as follows:

sAcvlz- 2061 Doc (ANx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNN|ENT TO UN|TED STATES MAGlSTRATE JUDGE FOR D|SCOVERY

 

 

 

 

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‘ UNlTED STATES DISTRICT COURT,'CENTRAL DlSTRlCl` OF CALlFORNlA t
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Kath'y R. Ferrin FELDSOTT & LEE, A LAW CORPORATION; and Does l - 50,

 

(b) Attomcys (Firm Namc, Address and Telephonc Number. if you arc representing Attomeys (lt`Known)
yoursclt`, provide same.)
Law OH'lces ofCol|lns & Lamore, Attomeys At Law
8 Whatney #102, lrvine, CA 92618
(949)581-9300; Faxil (480)287-8507

 

 

ll. BAS|S OF JUR|SD|CT|ON (Placc an X in one box only.) lll. ClT|ZENSHlI’ 0F PR|NC|PAL PARTIES - For Divctsity Cascs Only
(Plaec an X in onc box for plaintilt`and one for dcfcndtmt.) 1
U 1 U.S. Govcmmenl Plalntil`f d 3 chcral Qucstion (U.S. P'I'F DEI" PTF DEF
Govemmcnt Not a Party) Citizcrl ol'This State El l ill 1 lncorporated or Principltl Place Cl 4 U 4
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lV. ORlGlN (Placc an X in one box only.)

dl original El 2 Rcmoved from El 3 Remtmded from Cl 4 Reinstatcd or l'.l 5 Transt`errcd from another district (spccil`y): Cl 6 Multi- CJ 7 Appcal to District

Proeccding State Court Appellate Court Rcopcncd District .ludge from
Litigation Magistrate Judge

V. REQUESTED lN COMPLMNT: JURY DEMAND: E{Yes D No (Chcck ‘ch’ only if demanded in eomplaint.)
class Ac'rloN annot F.nc.l>. zst m Yott cl No lli{MoNEY m-:MANl)En lN coMri.AlN'r= s $3.000 plus actual damage/proof
Vl. CAUSE OF ACTION (Citc the U.S. Civil Statutc under which you are filing and write a brief statement ofcause. Do not cite jurisdictional statutes unless diversity.)

 

Vll. NATUKE Ol" SU|'I` (I’llee nn X |n one box only.)

   

     

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i.'.l 430 Btmks and Banking Cl l30 Millcf Act n 315 Al'l>l¢m¢ Pf°d“°l D 370 Other Fraud Vat:atc Sctttcncc IJ 720 Labor/Mgml.

D 450 CommcredlCC Cl 140 Negotiable instrument Llabilll>' D 371 Truth in Lcnding Habeas Corpus Relations

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1.'.1 460 Dcportation Ovcrpayment & slander , Property Damage Cl 535 Death Pcnutty chortlng &

D 470 Rncketeer influenced Enl'omcment of m 330 F°d' Emp‘°¥°” D 385 Propcrty Damage 13 540 Mandamus/ Diselosure Aet
and Corrupt Jndgmcnt liability ` Othcr Cl 740 Railway labor Act
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z Exchange Over`poyment of n 360 other personal y _, ', ’ Other Food & 13 820 Copy’rights

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UNlTED STATES DISTRICT COURT, CENTRAL DlSTRlCT OF CALIFORN[A
ClVlL COVER SHEET

t'

Vlll(a). IDENTlCAL CASES: Has this action been previously1 filed' 1n this court and dismissed, remanded or closod? dNo ill ch
lf`yes, list case numbcr(s).

 

Vlll(b).` RELA'I`ED CASES: Hch any cases been previously filed in this court that arc related to thc present case? E{No D Yes
lf`ycs, list case numbcr(a): '

 

.Clvll`cares are deemed related if a previously filed case and the present case:
(Chcck all boxes that apply) Cl A. Arise from the same or closely related transactions happenings, or cvents; or
El B. Call for determination ofthc sarno or substantially related or similar questions ol`law and fact; or
111 C. For other reasons would entail substantial duplication of labor if heard by different judges; or
C| D. involve the same patcnt, trademark or copyright, a_ng one ot` the factors identified above in a, b or c also is present

 

lX. VENUE: (thn completing the following infomtotion, use an additional sheet if ncccssary.)

(a) List the County in this District; Calif'omia County outside of` this District; Statc ifother than Calif`omio; or Forcign Country, in which EACH named plaintifTrcsidcs.
3 Check here if thc govemmcnt, its agencies or employees is a named plaintiff if this box is checkcd, go to item (b).

 

County in this District:‘ Calif`ornia County outside of this District; Statc, if` other than Calif`omia; or Foreign Country

 

Orange County

 

 

 

(b) List the County in this District; Calil`ornia County outside of` this District; Statc if` other than Calif`omia; or Forcign Country, in which EACH named defendant resides.
`EJ Check here if the governman its agencies or employees is a named dcfcndunt.~ lf` this box is checkcd, go to item (c).

County in this District:* Calif`ornia County outside of this District; State, if other than Calif`ornia; or Foreign Country

 

 

Orange County

 

 

 

 

(c) List the County in this District; Calif°omia County outside of' this Distriet; State if other than Calif`omia; or Foreign Country, in which EACH claim arose.
Note: ln land condemnation cases, use the location of the tract of land lnvolvcd.

 

County in this District:' California County outside of this Distriet; State, if' other than Calif`omia; or Forcign Countty

 

Orange County

 

 

 

 

* Los Ange|es, Orange, San Bernardlno, Riverside, Vent\lra, Snnta Blrbtlra, or n Ltlls po Countles
deter ln land condemnation cases, usc thc location gf' the tract of` land involvg 7
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Noticc to Connsel/Parties: The CV-71 (JSM ivil Covcr Shcct and inf` ctlon co tain herein ther replace nor supplement the filing and service of`plcadings
or other papers as required by law. This f'oml, approved by thc Judicial Conf'crcnce of'thc United Statcs` in Scptcmbcr 1974, is required pursuant to Loeal Rule 3-1'15 not filed
but is used by thc Clcrk ofthe Court f`or the purpose ot'statistlcs, venue and initiating the civil docket shcct. (F or more detailed instructions, sec separate instructions shcct.)

 

Kcy to Stntistical codes relating to Social Security Cascs: >
Naturc of Sult Code Abbrevlation Substantlve Statement of Cause of Aetion

861 HlA Al| claims for health insurance benefits (Modicarc) under Title 18, Part A, ol` the Social Security Act, as amcndcd.
Also, include claims by hospitals, skilled nursing facilitics, ctc., for certification as providers of` services under the
program (42 U.S.C. l935FF(b))

862 BL All claims t`or “Blaek Lung” benefits under Titlc 4, Part B, ot`thc l-`ederal Coal Mine Health and Sat`ety Act ot` 1969.
(30 U. S. C. 923)

863 DlWC All claims filed by insured workers for disability msurancc benefits under Titlc 2 ofthc Socitll Sccurlty Act, as
amcndod; plus all claims filed for ehild' s insurance benefits based on disability. (42 U. S. C 405(8))

863 DIWW All claims filed for widows or widowcrs insurance benefits based on disability under Titlc 2 of the Sociat Scellrity
Act, as amcndcd. (42 U. S. C. 405(g))

864 SSlD All claims t`or supplemental security income payments based upon disability filed under 'I`itlc 16 of` the Socis| Security
Act, as amcndcd.

865 RSi Ail claims f`or retirement (old agc) and survivors benefits under Title 2 ofthc Soeial Scellrity Act, as amended (42
ll.s.c. (g))

 

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